Brian W. Steffensen (3092)
STEFFENSEN •> LAW .> OFFICE
PO Box 2279
SaltLakeCity,Utah84110
Telephone(801)860-3707
Facsimile (866) 221-7980
Email brianwsteffensen@gmail.com
Attomeys for Plaintiff

                       IN THE THIRD DISTRICT COURT
                     SALT LAKE COUNTY, STATE OF UTAH
 AAA Law PC et al.
                                                   Summons
   Plaintiffs,

 vs.
                                                   CivilNo. 190905179
 Duffy Jay Williams et al.
                                                   Judge James Gardner
   Defendants

THE STATE OF UTAH TO :                Scott Williams

        You are hereby summoned and required to file an answer in writing to the attached
Complaint with the clerk ofthe Third District Court, 8080 South Redwood Road, West Jordan,
Utah, and to serve upon or mail to Steffensen Law Office, PO Box 2279, Salt Lake City, Utah
84110, attomeys for Plaintiffs, a copy ofsaid answer within TWENTY-ONE days after service of
this summons upon you.

        If you fail to do so, judgment by default will be taken against you for the relief demanded
in said complaint, which has been filed with the clerk ofsaid Court, and a copy ofwhich is
attached and herewith served upon you.

       DATED this 17th day ofJuly, 2019.

                                                       /s/Brian W. Steffensen




                                                                                           EXHIBIT

                                                                                              4
                                                                                            ^
                                                                                     <>^ I^<\.IVWYS
              9:23-ap-09001-BPH Doc#: 35-3 Filed: 11/15/23 Page 1 of 1
